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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                 CRIMINAL ACTION
v.                                   )
                                     )                 No. 09-20005-08-KHV
JAVIER DOZAL,                        )
                                     )
               Defendant.            )
_____________________________________)

                                 MEMORANDUM AND ORDER

       On June 8, 2010, the Court sentenced defendant to 151 months in prison based solely on the

binding plea agreement under Rule 11(c)(1)(C). See Judgment In A Criminal Case (Doc. #873); Plea

Agreement Pursuant To Fed. R. Crim. P. 11(c)(1)(C) (Doc. #603-1) filed January 28, 2010. On

March 23, 2015, the Court overruled defendant’s motion to appoint counsel to pursue a motion to

reduce sentence under Section 3582(c)(2) because defendant is not eligible for relief. See Order (Doc.

#1105). This matter is before the Court on defendant’s Motion For Relief Under Amendment 782

(Doc. #1120) filed October 26, 2015. As noted in the Court’s Order (Doc. #1105), defendant is not

eligible for relief under 18 U.S.C. § 3582(c)(2) because the plea agreement called for a specific

sentence and did not use or employ a guideline sentencing range. United States v. Graham, 704 F.3d

1275, 1278 (10th Cir. 2013). Accordingly, the Court overrules defendant’s motion for relief under

Amendment 782.

       IT IS THEREFORE ORDERED that defendant’s Motion For Relief Under Amendment 782

(Doc. #1120) filed October 26, 2015 be and hereby is OVERRULED.

       Dated this 2nd day of November, 2015 at Kansas City, Kansas.

                                                     s/ Kathryn H. Vratil
                                                     KATHRYN H. VRATIL
                                                     United States District Judge
